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                                             )   Civil Action No. 1:25-cv-10495
 Svitlana Doe, et al.,                       )
                                             )
               Plaintiffs,                   )
                                             )
 v.                                          )
                                             )
 Kristi Noem, in her official capacity as    )
 Secretary of Homeland Security, et al.,     )
                                             )
               Defendants.                   )
                                             )

       INDEX OF EXHIBITS IN SUPPORT OF DEFENDANTS’ MEMORANDUM IN
      OPPOSITION TO PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
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    Exhibit                                     Document
      A                 Memorandum from Acting Secretary Benjamine C.
                        Huffman, Exercising Appropriate Discretion Under
                        Parole Authority (January 20, 2025)
       B                Email from Acting Director Jennifer Higgins,
                        Securing Our Borders EO and Parole Processing (Jan.
                        23, 2025)
       C                Andrew Davidson Memorandum, “Administrative
                        Hold on All USCIS Benefit Requests Filed by
                        Parolees Under the United for Ukraine Process (U4U),
                        Processes for Cubans, Haitians, Nicaraguans, and
                        Venezuelans (CHNV) Process, or Family
                        Reunification Parole (FRP) Process (Feb. 14, 2025)
       D                Declaration of Kika Scott (March 20, 2025)
       E                USCIS, Historic Processing Times as of January 31,
                        2025, available at https://egov.uscis.gov/processing-
                        times/historic-pt (visited Mar. 19, 2025)




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